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                                                           Veterans Health Administration
                                                           Information Access and Privacy (105HIG)
                                                           810 Vermont Avenue NW
                                                           Washington, DC 20420




                                                      Request No: 22-00016-R

December 22, 2021

Matthew Strugar
Law Office of Matthew Strugar
3435 Wilshire Blvd., Suite 2910
Los Angeles, CA 90010
matthew@matthewstrugar.com

Dear Mr. Strugar,

       This letter is an agency decision on behalf of the Veterans Health Administration
(VHA). On August 26, 2021 you submitted a Freedom of Information Act (FOIA), 5
U.S.C. § 552 request to the Department of Veterans Affairs (VA), Office of the Inspector
General (OIG). On October 6, 2021 the OIG issued an initial agency decision to you
and determined that a portion of the responsive records required a review and release
determination by VHA. Specifically, it was determined that one-hundred and twenty-
eight (128) pages of records were originated within VHA to include a copy of a Report of
Contact, Employee Threat Assessment Team (ETAT) Guide dated April 2016, a
November 7, 2013 Memorandum, and a June 3, 2017 Patient Record Flags (PRF) Draft
Policy. On October 7, 2021 VHA electronically received the referral from the OIG. On
December 13, 2021 it was discovered that an administrative error had occurred within
VHA Central Office, FOIA Office. VHA acknowledges that the initial assignment was
missed and has now assigned this referral for immediate action to the undersigned.
The FOIA tracking number assigned to this referral is 22-00016-R

        VHA has found that there is one-hundred and twenty-nine (129) pages of
responsive records not one-hundred and twenty-eight (128) pages as initially reported
by OIG within their October 6, 2021 initial agency decision letter. I have Bates
numbered the pages 000001-000129 for ease of reference. Upon reviewing the Bates
pages 000001-000129 I have determined portions of the information are protected
under FOIA exemption 5, 5 U.S.C. 552(b)(5) and FOIA exemption 6, 5 U.S.C. 552(b)(6).
FOIA Exemption 5 permits VA to withhold a document or information contained within a
document as “pre-decisional” if two requirements are met. First, there must be an
identifiable deliberative process. That it, the document must be a direct part of the
deliberative process. Second, the agency generated the information or document as
part of the agency decision process. Stated another way, VA may withhold information
under Exemption 5 where the document or its content makes recommendations or
expresses opinions about legal or policy matters during a decision-making process and
the document is not the decision document or incorporated into the decision document.
Additionally, in accordance with the FOIA Improvement Act of 2016, an agency shall
withhold information under the FOIA only if the agency reasonably foresees that
disclosure would harm an interest protected by an exemption or disclosure is prohibited
by law. Stated another way, if the disclosure is not prohibited by law, the agency must
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state an articulable, foreseeable harm to the agency or its activities that could occur as
a result of release of the document or information.

       Upon my review of Bates pages 000001-00017, I have determined that the
document contains information that falls within the protection of Exemption 5.
Specifically, this document is a draft of a VHA policy regarding PRF. This document is
in a deliberative state and contains questions, comments and open discussion. In
addition, I have found that Bates page 000021 contains recommendations and
suggestions regarding the policy making considerations. It is noted that VHA Directive
5019.01, dated August 23, 2021 is the most recent VHA Workplace Violence Prevention
Program policy and is available publicly online from the VHA Forms and Publications -
Publications website at: https://vaww.va.gov/vhapublications/publications.cfm?Pub=1.

       Exemption 6 permits VA to withhold a document or information within a
document if disclosure of the information would constitute a clearly unwarranted
invasion of a living individual’s personal privacy. Stated another way, VA may withhold
information under FOIA exemption 6 where disclosure of the information, either by itself
or in conjunction with other information available to either the public or the FOIA
requester, would result in an unwarranted invasion of an individual’s personal privacy
without contributing significantly to the public’s understanding of the activities of the
federal government.

        Upon completion of the analysis in balancing personal privacy interests against
public interest, it has been determined that the personal privacy interest of the
individuals outweighs the public interest. The names and contact information of these
lower-level employees does not shed light on government operations. Consequently,
withheld on Bates numbered page 000020, 000021, 000034 and 000035 are employee
names, email address, phone numbers, and a signature. Their personal privacy interest
is not outweighed by the publics’ interest, as a result, information has been withheld
under FOIA exemption 6, as indicated on the enclosed document.

        The coverage of FOIA exemption 6 is absolute unless the FOIA requester can
demonstrate a countervailing public interest in the requested information by
demonstrating that the individual is in a position to provide the requested information to
members of the general public and that the information requested contributes
significantly to the public’s understanding of the activities of the Federal government.
Additionally, the requester must demonstrate how the public’s need to understand the
information significantly outweighs the privacy interest of the person to whom the
information pertains. Upon consideration of the materials you provided, we have not
been able to identify a countervailing public interest of sufficient magnitude to outweigh
the privacy interest in this case. The individuals associated with this information have a
personal privacy interest in the information that outweighs any public interest served by
disclosure of the information under FOIA. Consequently, this information is withheld
under FOIA exemption 6, 5 U.S.C. § 552 (b)(6).
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       Please be advised, you may appeal the determination made in this response to
the VA, Office of General Counsel. Appeals may be submitted electronically to their
electronic appeal mailbox, ogcfoiaappeals@va.gov or mailed to the following address:

                           Office of General Counsel (024)
                           Department of Veterans Affairs
                           810 Vermont Avenue NW
                           Washington, DC 20420

        If you should choose to file an appeal, your appeal must be postmarked or
electronically submitted no later than ninety (90) calendar days from the date of this
letter. Please include a copy of this letter with your written appeal, identify the
determination(s) you are appealing and clearly state why you disagree with the
determination(s).

       In addition to filing an appeal with the Office of General Counsel, you may also
seek assistance and/or dispute resolution services regarding your FOIA request from
VHA’s FOIA Public Liaison and or Office of Government Information Services (OGIS) as
provided below:

                           VHA FOIA Public Liaison:
                           Email Address: vhafoia2@va.gov
                           Phone Number: (877) 461-5038

                           Office of Government Information Services (OGIS)
                           Email Address: ogis@nara.gov
                           Fax: (202) 741-5769
                           Mailing address:
                           Office of Government Information Services
                           National Archives and Records Administration
                           8601 Adelphi Road
                           College Park, MD 20740-6001

      If you should have any further questions, please feel free to contact me at (717)
675-8363.

      Sincerely,
      DEANA M.                 Digitally signed by DEANA
                               M. MARAKOWSKI 262091
      MARAKOWSKI               Date: 2021.12.22 09:31:42
      262091                   -05'00'
      Deana Marakowski
      VHA FOIA Officer

      Enclosure
